                Case 19-10488-LSS              Doc 26       Filed 03/11/19         Page 1 of 36



                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                                  )
In re:                                                            ) Chapter 11
                                                                  )
Z GALLERIE, LLC, et al.,1                                         ) Case No. 19-10488 (LSS)
                                                                  )
                                   Debtors.                       ) (Joint Administration Requested)
                                                                  )

                  DEBTORS’ MOTION SEEKING ENTRY OF
       INTERIM AND FINAL ORDERS (I) AUTHORIZING THE DEBTORS TO
OBTAIN POSTPETITION FINANCING, (II) AUTHORIZING THE DEBTORS TO USE
CASH COLLATERAL, (III) GRANTING LIENS AND PROVIDING SUPERPRIORITY
ADMINISTRATIVE EXPENSE STATUS, (IV) GRANTING ADEQUATE PROTECTION
      TO THE PREPETITION LENDERS, (V) MODIFYING AUTOMATIC STAY,
 (VI) SCHEDULING A FINAL HEARING, AND (VII) GRANTING RELATED RELIEF

         The above-captioned debtors and debtors in possession (collectively, the “Debtors”)2

respectfully submit this motion for the relief set forth herein. In support of this motion, the

Debtors submit the Declaration of Mark Weinsten, President and Chief Executive Officer of Z

Gallerie, LLC, in Support of the Debtors’ Motion Seeking Entry of Interim and Final Orders (I)

Authorizing the Debtors to Obtain Postpetition Financing, (II) Authorizing the Debtors to Use

Cash Collateral, (III) Granting Liens and Providing Superpriority Administrative Expense

Status, (IV) Granting Adequate Protection to the Prepetition Lenders, (V) Modifying Automatic

Stay, (VI) Scheduling a Final Hearing, and (VII) Granting Related Relief (the “Weinsten


1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are: Z Gallerie, LLC (3816) and Z Gallerie Holding Company, LLC (5949). The location of the
    Debtors’ service address is: 1855 West 139th Street, Gardena, CA 90249.

2   A detailed description of the Debtors and their business, and the facts and circumstances supporting the
    Debtors’ chapter 11 cases, are set forth in greater detail in the Declaration of Mark Weinsten, Interim President
    and Chief Executive Officer of Z Gallerie, LLC, in Support of Chapter 11 Petitions and First Day Motions (the
    “First Day Declaration”) filed contemporaneously with the Debtors’ voluntary petitions for relief filed under
    chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) on March 11, 2019 (the “Petition
    Date”). Capitalized terms used but not otherwise defined in this Motion shall have the meanings given to them
    in the First Day Declaration.



KE 59412950
              Case 19-10488-LSS          Doc 26       Filed 03/11/19   Page 2 of 36



Declaration”), and the Declaration of Jason Cohen, Managing Director at Lazard Middle

Market, LLC, in Support of the Debtors’ Motion Seeking Entry of Interim and Final Orders (I)

Authorizing the Debtors to Obtain Postpetition Financing, (II) Authorizing the Debtors to Use

Cash Collateral, (III) Granting Liens and Providing Superpriority Administrative Expense

Status, (IV) Granting Adequate Protection to the Prepetition Lenders, (V) Modifying Automatic

Stay, (VI) Scheduling a Final Hearing, and (VII) Granting Related Relief (the “Cohen

Declaration”), each filed contemporaneously herewith. In further support of this motion, the

Debtors respectfully state as follows:

                                         Relief Requested

       1.      The Debtors seek entry of an interim order, substantially in the form attached

hereto as Exhibit A (the “Interim Order”), and a final order (the “Final Order” and, together with

the Interim Order, the “DIP Orders”):

               a.      authorizing the Debtors to obtain senior secured postpetition financing
                       (“Financing”) of up to $28,000,000 (the “DIP Facility” and the loans made
                       thereunder, the “DIP Loans”) on the terms and conditions set forth in this
                       Interim Order and the Secured Superpriority Debtor in Possession Credit
                       Agreement (substantially in the form attached to the Motion as Exhibit B,
                       attached hereto, and as hereafter amended, restated, amended and restated,
                       supplemented, or otherwise modified from time to time in accordance with
                       the terms thereof and hereof, the “DIP Credit Agreement” together with all
                       agreements, documents, certificates, and instruments delivered or executed
                       from time to time in connection therewith, each as hereafter amended,
                       restated, amended and restated, supplemented, or otherwise modified from
                       time to time in accordance with the terms thereof and hereof, collectively,
                       the “DIP Documents”), among the Debtors, KeyBank, N.A., acting as the
                       administrative and collateral agent (in such capacities, the “DIP Agent”),
                       and KeyBank National Association as lender (in such capacity, the “DIP
                       Lender”), secured by the Collateral (as defined below), and authorization
                       for each Debtor other than the Borrower to guarantee Borrower’s
                       obligations under the DIP Facility as a guarantor (collectively, with the
                       Borrower, the “Credit Parties,” as that term is defined in the DIP Credit
                       Agreement) and for each Debtor to grant security interests in the
                       Collateral;



                                                  2
Case 19-10488-LSS      Doc 26       Filed 03/11/19    Page 3 of 36



b.    authorization to use the proceeds of the DIP Facility extended to the
      Borrower as expressly provided in the DIP Documents and consistent with
      the Budget (as defined below) (A) to pay costs, fees, and expenses of the
      DIP Agent and the DIP Lender as provided for in this Interim Order and
      the DIP Documents, (B) to roll up and convert the Prepetition Revolving
      Loans (as defined below) into DIP Loans, (C) to provide working capital
      for other general corporate purposes of the Debtors, and (D) to pay
      administration costs, fees and expenses of these Cases and claims or
      amounts approved by the Bankruptcy Court;

c.    authorization for the Debtors to execute and deliver the DIP Credit
      Agreement and the other DIP Documents and to perform such other and
      further acts as may be necessary or appropriate in connection therewith;

d.    grant to the DIP Lender and the DIP Agent in respect of the DIP Loans,
      for the benefit of the DIP Agent, the DIP Lender and any other parties
      referred to in the DIP Credit Agreement with respect to the respective DIP
      Obligations (as defined below), in accordance with the relative priorities as
      set forth more fully below, and subject and subordinate to the Carve-Out
      (as defined below), the following:

      1.     pursuant to Bankruptcy Code section 364(c)(1), joint and several
             superpriority allowed administrative expense claim status in the
             Cases;

      2.     pursuant to Bankruptcy Code section 364(c)(2), a first priority lien
             on all assets of the Debtors, including all property of their
             respective estates in the Cases, whether real or personal, tangible
             or intangible, now owned or hereafter acquired and all proceeds,
             profits, rents, accessions and substitutes thereof, that is not subject
             to (i) valid, perfected and non-avoidable liens in existence as of the
             Petition Date or (ii) valid liens in existence as of the Petition Date
             that are perfected thereafter to the extent permitted by Bankruptcy
             Code section 546(b);

      3.     pursuant to Bankruptcy Code section 364(d), a first priority, senior
             priming lien on and security interest in all of the Debtors’ assets
             (other than Excluded Assets and subject (i) Permitted Liens (other
             than the Prepetition Liens) and (ii) the Carve Out (each as defined
             in the DIP Documents)), including all property of their respective
             estates in the Cases, whether real or personal, tangible or
             intangible, now owned or hereafter acquired and all proceeds,
             profits, rents, accessions and substitutions thereof, that is subject to
             (i) valid, perfected and non-avoidable liens in existence as of the
             Petition Date or (ii) valid liens in existence as of the Petition Date
             that are perfected thereafter to the extent permitted by Bankruptcy
             Code section 546(b);

                                3
              Case 19-10488-LSS        Doc 26       Filed 03/11/19   Page 4 of 36



               e.     authorization for the DIP Agent to terminate the DIP Credit Agreement
                      and to terminate the Debtors’ use of Cash Collateral upon the occurrence
                      and continuance of an Event of Default (as defined in the DIP Credit
                      Agreement) on terms specified in the Interim Order and in the DIP Credit
                      Agreement;

               f.     subject to entry of the Final Order, authorization to grant liens to the DIP
                      Lender on the proceeds of the Debtors’ claims and causes of action arising
                      under Bankruptcy Code sections 544, 545, 547, 548, 549 and 550
                      (collectively, the “Avoidance Actions”);

               g.     authorization for the Debtors to use, among other things, in accordance
                      with the Budget, any cash collateral (as that term is defined in Bankruptcy
                      Code section 363(a) and described below, the “Cash Collateral”) in which
                      the Prepetition Secured Parties (as defined below) may have an interest
                      and the granting of adequate protection to the Prepetition Secured Parties
                      with respect to any diminution in value of their interests in the Prepetition
                      Collateral (as defined below) arising from, inter alia, the Debtors’ use of
                      the Prepetition Collateral (including Cash Collateral), the imposition of the
                      automatic stay of Bankruptcy Code section 362;

               h.     subject to, and only effective upon, the entry of a Final Order granting
                      such relief, the waiver by the Debtors of any right to surcharge against the
                      Collateral pursuant to Bankruptcy Code section 506(c) or otherwise;

               i.     the Court’s modification of the automatic stay imposed by Bankruptcy
                      Code section 362 to the extent necessary to implement and effectuate the
                      terms and provisions of the DIP Documents and the Interim Order;

               j.     the Court’s waiver of any applicable stay (including under Bankruptcy
                      Rule 6004) and providing for immediate effectiveness of the Interim
                      Order;

               k.     authorization that during the period (the “Interim Period”) commencing on
                      the date of this Court’s entry of this Interim Order and ending on the
                      earlier of (a) the date this Court enters the Final Order and (b) the
                      occurrence of the Maturity Date, a portion of the Commitments shall be
                      borrowed by Borrower, subject to compliance with the terms, conditions,
                      and covenants contained in the DIP Documents, in an amount equal to
                      $5,000,000; and

scheduling a final hearing (the “Final Hearing”) to consider entry of the Final Order granting the

relief requested in this Motion on a final basis and authorizing the balance of the borrowings




                                                4
                Case 19-10488-LSS            Doc 26        Filed 03/11/19      Page 5 of 36



under the DIP Documents on a final basis, as set forth in this Motion and the DIP Documents

filed with this Court and approving the Debtors’ notice with respect to this Motion.

                                         Jurisdiction and Venue

        2.       The United States Bankruptcy Court for the District of Delaware (the “Court”)

has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended

Standing Order of Reference from the United States District Court for the District of Delaware,

dated February 29, 2012. The Debtors confirm their consent, pursuant to rule 7008 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 9013-1(f) of the

Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the

District of Delaware (the “Local Rules”), to the entry of a final order by the Court in connection

with this motion to the extent that it is later determined that the Court, absent consent of the

parties, cannot enter final orders or judgments in connection herewith consistent with Article III

of the United States Constitution.

        3.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        4.       The statutory bases for the relief requested herein are sections 105, 361, 362, 363,

364, 503, and 507 of the Bankruptcy Code, Bankruptcy Rules 2002, 4001, and 9014, and Local

Rules 2002-1(b) and 4001-2.

                                         Preliminary Statement3

        5.       Immediate access to incremental liquidity in the form of postpetition financing (as

well as access to Cash Collateral) is vital to preserving the value of the Debtors’ estates and

maximizing the likelihood of a going-concern reorganization. The Debtors will suffer immediate

and irreparable harm absent access to additional liquidity.                   Indeed, at the time of the

3   Capitalized terms used but not defined herein have the meanings ascribed to them in the DIP Credit Agreement,
    or the Interim DIP Order, as applicable.


                                                       5
              Case 19-10488-LSS         Doc 26       Filed 03/11/19   Page 6 of 36



commencement of these cases, the Debtors have under $2 million of cash on hand—an amount

insufficient to operate the Debtors’ businesses or continue in the ordinary course.

       6.      In anticipation of its upcoming liquidity issues beginning in March 2019, and in

an effort to support a marketing and sale process, the Debtors commenced negotiations with their

Prepetition Secured Lenders in January 2019. The Debtors sought to obtain financing on an out-

of-court basis. While the Debtors had many conversations and meetings with their Prepetition

Secured Lenders regarding out-of-court funding, in early March it became clear that financing

would only be available in connection with the filing of these chapter 11 cases. To that end, the

Debtors, as part of their discussions with both the Prepetition Secured Lenders and the Agent for

the Prepetition Credit Facility, KeyBank National Association (“KeyBank”), insisted that any

chapter 11 financing support a going concern process that would be accomplished through a

chapter 11 plan.

       7.      These negotiations had to take into account the structure of the Debtors’ existing

Prepetition Credit Facility. The Prepetition Credit Facility provides for two lines of secured

credit—a $20,000,000 secured revolving loan facility, provided by KeyBank (the “Prepetition

Secured Revolving Loan”) with a contractual right of first recovery, and a $93,400,000 secured

term loan facility, provided by the Prepetition Term Loan Lenders (the “Prepetition Secured

Term Loan”). Both loans are secured by the same collateral, however, KeyBank’s position is

senior to the Prepetition Secured Term Loan Lenders, entitling KeyBank to receive payment on

the Revolving Loans first before any payment could be made to the Prepetition Term Loan

Lenders.

       8.      The Prepetition Term Loan Lenders indicated they would be willing to provide

postpetition financing only on terms that primed KeyBank. They were unwilling to provide new


                                                 6
              Case 19-10488-LSS         Doc 26       Filed 03/11/19   Page 7 of 36



money subordinate to KeyBank. While discussions were ongoing with the Prepetition Term

Loan Lenders, the Debtors also engaged in negotiations with KeyBank regarding its desire to

provide financing rather than be primed by the Prepetition Term Loan Lenders. After many

conversations, KeyBank agreed to provide the necessary postpetition financing on substantially

similar, and in some instances better, terms than the Prepetition Term Loan Lenders, but only on

the condition that they receive a roll-up of their Prepetition Secured Revolving Loan on entry of

the Interim Order. As a result of these negotiations, the Debtors were able to secure two

competing DIP financing proposals from their Prepetition Secured Lenders—one from their

Prepetition Term Loan Lenders that would almost certainly have required a priming fight, and

one from KeyBank, conditioned on a roll-up.

       9.      In addition, the Debtors, with the assistance of their advisors, solicited proposals

for alternative debtor-in-possession financing from a variety of third party potential lenders,

including eight financial institutions. Although six of the potential sources indicated some

interest in providing potential exit financing, no one was willing to provide the Debtors with DIP

financing on any terms.

       10.     As explained in the Cohen Declaration, after significant back and forth with their

Prepetition Secured Lenders on the negotiation of these competing proposals, Key Bank agreed

to provide $28 million in postpetition financing, including $5 million of new money during the

interim period and $3 million upon entry of the Final Order, on the condition of a roll-up of their

$19.25 million prepetition loans.

       11.     As discussed below and in the Weinsten and Cohen Declarations, and the First

Day Declaration, the provisions of the DIP Agreements and the Interim Order were negotiated at

arm’s-length and in good faith, and the proposed DIP Facility provides the best terms presently


                                                 7
                    Case 19-10488-LSS            Doc 26        Filed 03/11/19        Page 8 of 36



available to the Debtors. The Debtors firmly believe that incurrence of the DIP Facility will

maximize value for the Debtors’ stakeholders and is in the exercise of the Debtors’ sound

business judgment. Accordingly, the Debtors respectfully request that the Court approve the

entry of the Interim Order and the Final Order.

                                   Concise Statements Pursuant to
                            Bankruptcy Rule 4001(b) and Local Rule 4001-24

I.          Concise Statement Regarding the DIP Credit Facility.

            12.      The below chart contains a summary of the material terms of the proposed DIP

Facility, together with references to the applicable sections of the relevant source documents, as

required by Bankruptcy Rules 4001(b)(1)(B) and 4001(c)(1)(B) and Local Rule 4001-2.

     Bankruptcy Code                                      Summary of Material Terms
    Borrowers               Z Gallerie, LLC
    Bankruptcy Rule
                             See DIP Credit Agreement Preamble.
    4001(c)(1)(B)

    Guarantor                Z Gallerie Holding Company, LLC (“Holdings”, and together with the Borrower,
    Bankruptcy Rule          collectively, the “Credit Parties”)
    4001(c)(1)(B)
                             See DIP Credit Agreement Preamble.

    DIP Financing            Keybank National Association
    Lenders
                             acting as the administrative and collateral agent (in such capacities, the “DIP Agent”),
    Bankruptcy Rule
                             and the lenders party thereto from time to time (in such capacity, the “DIP Lender”).
    4001(c)(1)(B)
                             See DIP Credit Agreement Preamble.

    Term                     Scheduled Maturity Date. The earlier of (a) the date that is 120 days after the Effective
    Bankruptcy Rule          Date, (b) the effective date of a Plan of Reorganization that (x) does not provide for
    4001(b)(l)(B)(iii),      indefeasible payment in full in cash of all Secured Obligations and (y) is not otherwise
    4001(c)(1)(B)            acceptable to the Required Lenders, (c) the date of termination of all of the DIP Lender’
                             Commitments and the acceleration of any outstanding extensions of credit, in each
    Local Rule 4001-
                             case, under the Facility in accordance with terms of the DIP Credit Agreement and the
    2(a)(ii)
                             other DIP Documents, (d) the date of consummation of a sale of all or substantially all
                             of the Debtors’ assets under Section 363 of the Bankruptcy Code or otherwise, (e) the
                             earlier of the date (a) Borrower enters into (or files a motion with the Bankruptcy Court


4      The summaries contained in this motion are qualified in their entirety by the provisions of the documents
       referenced, including the DIP Documents and the Interim Order. To the extent anything in this motion is
       inconsistent with such documents, the terms of the applicable documents shall control. Capitalized terms used
       in this summary chart but not otherwise defined have the meanings ascribed to them in the DIP Documents or
       the Interim Order, as applicable.


                                                           8
              Case 19-10488-LSS            Doc 26        Filed 03/11/19        Page 9 of 36




 Bankruptcy Code                                   Summary of Material Terms
                       or otherwise take action to pursuant the Bankruptcy Court approval of) a purchase
                       agreement, unless such purchase agreement is entered into in connection with the
                       Auction conducted pursuant to the Bidding Procedures Order and (b) the Borrower files
                       a motion or otherwise takes action to pursue the Bankruptcy Court for approval of a
                       sale (other than an Auction conducted pursuant to the Bidding Procedures Order), and
                       (f) the effective date of a plan of reorganization or liquidation in the Case.
                       See DIP Credit Agreement definition of “Maturity Date.”

Commitment             Commitments. As of the Closing Date, the Aggregate Term Loan Commitments are
Bankruptcy Rule        $28,000,000, comprising (z) approximately $19,250,000 to roll up and convert the
4001(c)(1)(B)          Senior Secured Revolving Loans outstanding under the Prepetition Credit Agreement
                       into DIP Loans, (b) approximately $750,000 to cash collateralize letters of credit
Local Rule 4001-
                       outstanding under the Prepetition Credit Agreement, (c) $5,000,000 Interim Term
2(a)(ii)
                       Loans and (d) $3,000,000 Final Term Loans.
                       See DIP Credit Agreement, definition of “Aggregate Term Loan Commitment.”

Conditions of          Conditions Precedent to Effectiveness of DIP Credit Agreement.
Borrowing
Bankruptcy Rule    •     Delivery of customary closing deliverables and requisite Loan Documents, including a
4001(c)(1)(B)            notice of borrowing, secretary’s certificate, officer’s certificate, financial statements,
                         UCC and tax lien searches, “know your customer” and USA PATRIOT Act
Local Rule 4001-         information, evidence of insurance naming the DIP Agent as an additional insured or
2(a)(ii)                 loss payee, to the extent required by the Loan Documents; receipt of the Initial DIP
                         Budget certified by an officer of the Borrower.

                   •     The DIP Agent shall be satisfied that the Loan Documents and Order shall be
                         effective to create in favor of the DIP Agent a legal, valid, perfected and enforceable
                         security interest and Lien upon the Collateral, with the priority set forth in the Order
                         and the terms thereof.

                   •     All of the representations and warranties made by each Credit Party contained in the
                         Credit Agreement or any other Loan Document are true and correct in all material
                         respects (without duplication of any materiality qualifier contained therein), except to
                         the extent that such representation or warranty expressly related to an earlier date (in
                         which event such representations and warranties were true and correct in all material
                         respects (without duplication of any materiality qualifier contained therein) as of such
                         earlier date);

                   •     The DIP Lender and the DIP Agent shall have received all fees required to be paid,
                         and all reasonable and out-of-pocket expenses for which invoices have been presented
                         (including the reasonable out-of-pocket fees and expenses of legal counsel), at least
                         two (2) Business Days prior to the Effective Date; provided that all such amounts will
                         be paid with proceeds of the Initial Term Loans made on the Effective Date and will
                         be reflected in the funding instructions given by the Borrower to the DIP Agent on or
                         before the Effective Date;;

                   •     The DIP Agent shall have received all governmental and regulatory approvals
                         necessary in connection with the closing of the DIP Credit Agreement and the
                         transactions contemplated thereby, and any consents, permits, licenses and approvals
                         required in accordance with applicable Requirements of Law, or in accordance with
                         any document, agreement, instrument or arrangement to which any Credit Party is a
                         party, in connection with the execution, delivery, performance, validity and
                         enforceability of the DIP Credit Agreement and the other Loan Documents, each in

                                                     9
          Case 19-10488-LSS              Doc 26         Filed 03/11/19        Page 10 of 36




Bankruptcy Code                                   Summary of Material Terms
                        form and substance satisfactory to the Required Lenders;

                  •     Such other assurances, documents, governmental certificates, and agreements as the
                        DIP Agent, or any DIP Lender reasonably may require;

                  •     No Default or Event of Default has occurred and is continuing or could reasonably be
                        expected to result after giving effect to the funding of the Interim Term Loans on the
                        Effective Date; and

                  •     The Interim DIP Order is in full force and effect, and has not been vacated, stayed,
                        reversed, modified or amended in any respect without the written consent of the
                        Required Lenders in their sole discretion..

                      Conditions Precedent to All Borrowings.
                  •     Receipt of requisite notices;

                  •     All of the representations and warranties made by each Credit Party contained in the
                        Credit Agreement or any other Loan Document are true and correct in all material
                        respects (without duplication of any materiality qualifier contained therein), except to
                        the extent that such representation or warranty expressly related to an earlier date (in
                        which event such representations and warranties were true and correct in all material
                        respects (without duplication of any materiality qualifier contained therein) as of such
                        earlier date);

                  •     No Default or Event of Default has occurred and is continuing or could reasonably be
                        expected to result after giving effect to the funding of the Term Loans on the date of
                        the requested borrowing.;

                  •     Reaffirmation by each Credit Party of the granting and continuance of the DIP
                        Agent’s Liens, on behalf of itself and the Secured Parties, pursuant to the DIP Credit
                        Agreement; and

                  •     The applicable DIP Order is in full force and effect and has not been vacated, stayed,
                        reversed, modified or amended in any respect without the written consent of the
                        Required Lenders in their sole discretion.

                  •     The Borrower shall have paid the balance of all fees and expenses then due and
                        payable under this Agreement.

                      Conditions Precedent to Funding on the Final Order Effective Date.
                  •     The conditions set forth above have been satisfied;

                  •     The Final DIP Order (i) shall have been entered on the docket of the Bankruptcy
                        Court on or before the date that is forty (40) days after the Petition Date and (ii) shall
                        be in full force and effect and shall not have been vacated, stayed, reversed, modified
                        or amended in any respect without the written consent of the Required Lenders in
                        their sole discretion; and, if the Final Order is the subject of a pending appeal in any
                        respect, neither the making of the Loans on the Final Order Effective Date, nor the
                        performance by the Credit Parties of any of their respective obligations hereunder,
                        under the other Loan Documents or under any other instrument or agreement referred
                        to herein shall be the subject of a presently effective stay pending appeal. Such Final


                                                   10
             Case 19-10488-LSS                Doc 26        Filed 03/11/19       Page 11 of 36




 Bankruptcy Code                                       Summary of Material Terms
                             Order shall authorize and approve the Term Loans, the DIP Credit Agreement and the
                             Loan Documents contemplated thereby. All motions, orders and other documents to
                             be filed with and submitted to the Bankruptcy Court in connection therewith shall be
                             in form and substance satisfactory to the Required Lenders in their sole discretion;

                       •     Each of the DIP Lender and DIP Agent shall have received for its own account and
                             for the account of the DIP Lender, as the case may be, all fees, costs and expenses due
                             and payable on or prior to the date of the proposed borrowing, and under any other
                             Loan Document, which have been invoiced (in the case of costs and expenses only) to
                             the Borrower at least one (1) Business Day before the date of the proposed borrowing;

                       •     Delivery of a Notice of Borrowing; and

                       •     A representation by the Borrower that there is no unstayed action, suit, investigation
                             or other proceeding (including without limitation, the enactment or promulgation of a
                             statute or rule) by or before any arbitrator or any Governmental Authority shall be
                             threatened in writing or pending (other than the Chapter 11 Cases) and no preliminary
                             or permanent injunction or order by a state or federal court shall have been entered (i)
                             in connection with the DIP Credit Agreement, any other Loan Document, or any
                             transaction contemplated thereby or (ii) which could be expected to result in a
                             Material Adverse Effect, excluding, in each case, any proceedings challenging the
                             DIP Credit Agreement or the DIP Orders (but only so long as, (x) prior to the Final
                             Order Effective Date, the Interim Order is in effect and has not been stayed, reversed,
                             modified or subject to a motion for reconsideration without the consent of the
                             Required Lenders and (y) on the Final Order Effective Date, the Final Order is in
                             effect and has not been stayed, reversed, modified or subject to a motion for
                             reconsideration without the consent of the Required Lenders.

                           See DIP Credit Agreement §§ 2.1, 2.2 and 2.3

Interest Rates             Rates and Payment of Interest.
Bankruptcy Rule
4001(c)(1)(B)          •     The Obligations shall bear interest as follows: (a) if a Base Rate Loan, at a rate per
                             annum equal to the Base Rate plus the Applicable Margin and (b) if a LIBOR Rate
Local Rule 4001-             Loan, at a rate per annum equal to the LIBOR Rate for such Interest Period plus the
2(a)(ii)                     Applicable Margin. “Applicable Margin” means (a) in the case of LIBOR Rate
                             Loans, 7.75% per annum and (b) in the case of Base Rate Loans, 4.25% per annum.

                       •     During any Event of Default, the DIP Agent may (and shall at the direction of
                             Required Lenders) elect to apply Default Rate interest (which is determined by adding
                             two percent (2.0%) per annum to the rate otherwise applicable thereto).

                           See DIP Credit Agreement § 1.3

Use of DIP Financing       Use of Proceeds. The proceeds of Loans made under the DIP Credit Agreement to pay
Facility and Cash          or fund (i) certain costs, fees and expenses related to the Case, (ii) amounts due and
Collateral                 outstanding under the Prepetition Credit Agreement as permitted by the Interim Order
Bankruptcy Rule            and the Final Order, (iii) Adequate Protection Payments (as defined in the Interim
4001(b)(l)(B)(ii)          Order) and (iv) the working capital needs, capital improvements and expenditures of
                           the Borrower and the other Credit Parties during the Chapter 11 Cases in accordance
Local Rule 4001-
                           with the any DIP Budget (including the Initial DIP Budget) and the Cash Management
2(a)(ii)
                           Order
                           Notwithstanding the foregoing, none of the proceeds of the Term Loans and none of the


                                                        11
             Case 19-10488-LSS            Doc 26        Filed 03/11/19         Page 12 of 36




 Bankruptcy Code                                    Summary of Material Terms
                      Obligations, the cash collateral, the Collateral or the Carve-Out may be used for the
                      following purposes: to (i) object, contest or raise any defense to, the validity,
                      perfection, priority, extent or enforceability of any amount due under the Loan
                      Documents or the Prepetition Credit Agreement, or the liens, security interests or
                      claims granted under the Interim Order, the Final Order, the DIP Agreement, the other
                      Loan Documents or the Prepetition Credit Agreement, (ii) investigate, initiate or
                      prosecute any claims and defenses or causes of action against any of the DIP Agent, the
                      DIP Lender, the Prepetition Agent, the Prepetition Secured Lenders, or their respective
                      agents, affiliates, representatives, attorneys or advisors under or relating to the
                      Prepetition Credit Agreement, the outstanding indebtedness under the Prepetition
                      Credit Agreement, the Collateral (as defined in the Prepetition Credit Agreement) or the
                      Loan Documents, (iii) prevent, hinder or otherwise delay the DIP Agent’s or any DIP
                      Lender’s assertion, enforcement or realization on the cash collateral or the Collateral in
                      accordance with the Loan Documents, (iv) seek to modify any of the rights granted to
                      the DIP Agent, the DIP Lender, the Prepetition Agent or the Prepetition Secured
                      Lenders under the DIP Credit Agreement or under the Loan Documents or the
                      Prepetition Credit Agreement, in each of the foregoing cases without such parties' prior
                      written consent or (v) pay any amount on account of any claims arising prior to the
                      Petition Date unless such payments are (A) approved by an order of the Bankruptcy
                      Court and (B) in accordance with the DIP Credit Agreement and any relevant DIP
                      Budget; provided that, advisors to the Committee may investigate the indebtedness
                      under the Prepetition Credit Agreement and the liens on and security interests in the
                      Collateral (as defined in the Prepetition Credit Agreement) for a 60-day period,
                      commencing after the date that notice of the formation of the Committee appointed
                      under section 1102 of the Bankruptcy Code in the Chapter 11 Cases is filed on the
                      docket of such Chapter 11Cases, at an aggregate expense for such investigation not to
                      exceed $50,000;.
                      See DIP Credit Agreement § 5.8

Adequate Protection   Adequate Protection Liens. Subject to and subordinate to the Carve Out as set forth in
Bankruptcy Rules      the Interim Order, pursuant to sections 361, 363(e), and 364(d) of the Bankruptcy Code,
4001(b)(l)(B)(iv),    as adequate protection of the interests of the Prepetition Secured Parties in the
4001(c)(1)(B)(ii)     Prepetition Collateral against any Diminution in Value of such interests in the
                      Prepetition Collateral, the Debtors hereby grant to the Prepetition Collateral Agent, for
                      the benefit of itself and the Prepetition Secured Parties, continuing, valid and perfected
                      replacement security interests in and liens on the Postpetition Collateral which liens
                      shall be junior and subordinate to (i) the DIP Liens, (ii) the Carve-Out (iii) valid,
                      perfected and non-avoidable liens in existence as of the Petition Date or which are
                      entitled to priority over the Prepetition Liens, and (iv) valid liens in existence as of the
                      Petition Date that are perfected thereafter to the extent permitted by Bankruptcy Code
                      section 546(b) which are entitled to priority over the Prepetition Liens (the “Adequate
                      Protection Liens”).
                      Retention of Liens. The Prepetition Secured Parties will, subject to the terms of this
                      Interim Order and the Final Order, maintain the Prepetition Liens on the Collateral,
                      which liens shall be junior and subordinate to (i) the DIP Liens, (ii) the Carve-Out (iii)
                      valid, perfected and non-avoidable liens in existence as of the Petition Date or which
                      are entitled to priority over the Prepetition Liens, and (iv) valid liens in existence as of
                      the Petition Date that are perfected thereafter to the extent permitted by Bankruptcy
                      Code section 546(b) which are entitled to priority over the Prepetition Liens.
                      Adequate Protection Superpriority Claims. Subject and subordinate to the Carve Out as
                      set forth in the Interim Order, as further adequate protection of the interests of the
                      Prepetition Secured Parties in the Prepetition Collateral against any Diminution in


                                                     12
            Case 19-10488-LSS              Doc 26       Filed 03/11/19        Page 13 of 36




 Bankruptcy Code                                    Summary of Material Terms
                     Value of such interests in the Prepetition Collateral, the Prepetition Collateral Agent, on
                     behalf of itself and the Prepetition Secured Parties, is hereby granted as and to the
                     extent provided by section 507(b) of the Bankruptcy Code an allowed superpriority
                     administrative expense claim in each of the Cases and any Successor Cases (the
                     “Prepetition Secured Superpriority Claim”).
                     Adequate Protection Payments and Protections for Prepetition Secured Parties. Subject
                     to the Carve Out as set forth in the Interim Order, as further adequate protection (the
                     “Prepetition Secured Adequate Protection Payments”), the Debtors are authorized and
                     directed to pay on an ongoing basis, from time to time after the Petition Date, pursuant
                     to the procedures set forth in the Interim Order, all reasonable professional fees and
                     expenses of the Prepetition Term Loan Lenders incurred in connection with the Cases
                     (the “Prepetition Term Loan Lenders’ Professional Fees and Expenses”), including,
                     without limitation, all reasonable fees and expenses incurred prior to the date hereof
                     and/or the Petition Date. The Debtors shall pay the Prepetition Term Loan Lenders’
                     Professional Fees and Expenses within ten (10) Business Days (if no written objection
                     is received within such ten (10) Business Days’ period) after such professional has
                     delivered an invoice substantially in the form provided to the Debtors to date describing
                     such fees and expenses (but in any event providing reasonable detail with respect to the
                     fees and expenses incurred); provided, however, that any such invoice may be redacted
                     to protect privileged, confidential or proprietary information, with a copy of such
                     invoices delivered simultaneously to the DIP Agent, the United States Trustee for the
                     District of Delaware (the “U.S. Trustee”), and the official committee of unsecured
                     creditors if appointed (the “Committee”). Written objections to payment of the
                     Prepetition Term Loan Lenders’ Professional Fees and Expenses, which may only be
                     asserted by the Debtors, the DIP Agent, the U.S. Trustee and the Committee (if
                     appointed), must contain a specific basis for the objection and quantification of the
                     undisputed amount of the fees and expenses invoiced. None of the Prepetition Term
                     Loan Lenders’ Professional Fees and Expenses shall be subject to Court approval or
                     required to be maintained in accordance with the U.S. Trustee Guidelines and no
                     recipient of any such payment shall be required to file with respect thereto any interim
                     or final fee application with the Court; provided, however, if an objection to a
                     professional’s invoice is timely received, the Debtors shall only be required to pay the
                     undisputed amount of the invoice and the Court shall have jurisdiction to determine the
                     disputed portion of such invoice if the parties are unable to resolve the dispute. All
                     allowed claims payable in cash arising from the Adequate Protection Provisions must
                     be indefeasibly paid in full in cash and satisfied on or before the effective date of any
                     chapter 11 plan (except as may otherwise be provided in the Plan of Reorganization)
                     See Interim Order ¶ 12.

Repayment Features       Mandatory Prepayments. The outstanding Obligations shall be subject to prepayment
Local Rule 4001-         as follows:
2(a)(i)(E)
                     •     If a Credit Party shall at any time or from time to time: (a) make a Disposition (other
                           than in the case of any (x) Disposition made in connection with a Permitted Store
                           Closing and (y) other store closure or Lease rejection conducted with the prior written
                           approval of the Required Lenders); or (b) suffer an Event of Loss, then (A) the
                           Borrower shall promptly notify the DIP Agent of such proposed Disposition or Event
                           of Loss or receipt of proceeds by such Credit Party in connection with such a
                           Disposition or Event of Loss (including the amount of the estimated Net Proceeds to
                           be received by a Credit Party in respect thereof) and (B) promptly upon receipt by a
                           Credit Party of the Net Proceeds of such Disposition or Event of Loss, the Borrower
                           shall deliver, or cause to be delivered, such excess Net Proceeds to Agent for
                           distribution to the Lenders as a prepayment of the Loans, which prepayment shall be

                                                     13
             Case 19-10488-LSS             Doc 26       Filed 03/11/19          Page 14 of 36




 Bankruptcy Code                                     Summary of Material Terms
                          applied in accordance with Section 1.8(h) of the DIP Credit Agreement.

                   •      Within three (3) Business Days of the date of the receipt by any Credit Party of the
                          Borrower of the Net Issuance Proceeds of the issuance of debt securities for borrowed
                          money or Equity Issuance, the Borrower shall deliver, or cause to be delivered, to DIP
                          Agent an amount equal to such Net Issuance Proceeds for application to the Loans in
                          accordance with Section 1.8(h) of the DIP Credit Agreement.

                   •      No later than concurrently with any Change of Control, the Borrower shall deliver, or
                          cause to be delivered, to the DIP Agent an amount equal to all of the Obligations then
                          outstanding.

                       See DIP Credit Agreement §1.8
                       Optional Prepayments
                   •      The Borrower may at any time upon at least one (1) Business Day's (or such shorter
                          period as is acceptable to the DIP Agent) prior written notice by the Borrower to the
                          DIP Agent, prepay the Loans in whole or in part in an amount greater than or equal to
                          $100,000, in each instance, without penalty or premium except as provided in Section
                          10.4 of the DIP Credit Agreement. Optional partial prepayments of the Term Loans
                          shall be applied in the manner directed by the Borrower or, if not specified, as set
                          forth in Section 1.8(h) of the DIP Credit Agreement. Optional partial prepayments of
                          the Term Loan in amounts less than $100,000 shall not be permitted.

                   •      The notice of any prepayment shall not thereafter be revocable by the Borrower and
                          Agent will promptly notify each DIP Lender thereof and of such DIP Lender's
                          Commitment Percentage of such prepayment. The payment amount specified in such
                          notice shall be due and payable on the date specified therein. Together with each
                          prepayment under Section 1.7 of the DIP Credit Agreement, the Borrower shall pay
                          any amounts required to reimburse each DIP Lender from any funding loss or expense
                          pursuant to Section 10.4 of the DIP Credit Agreement.

                       See DIP Credit Agreement § 1.7

Fees                   Unused Commitment Fee. The Borrower shall pay to the DIP Agent a fee (the
Bankruptcy Rule        “Unused Commitment Fee”) for the account of each DIP Lender with a Delayed Draw
4001(c)(1)(B)          Term Loan Commitment (excluding any Non-Funding Lender) in an amount equal to
                       (i) the Delayed Draw Term Loan Commitment of such Lender during the preceding
Local Rule 4001-
                       calendar month, less (ii) the Delayed Draw Term Loans held by such DIP Lender
2(a)(ii)
                       during the preceding calendar month multiplied by (iii) two percent (2.00%) per
                       annum. The total Unused Commitment Fee paid by the Borrower will be equal to the
                       sum of all of the fees due to the DIP Lender (other than any Non-Funding Lender).
                       Such Unused Commitment Fee shall be payable monthly in arrears on the last day of
                       the first calendar month following the initial advance under the Delayed Draw Term
                       Loan Commitment and the last day of each calendar month thereafter and on the
                       Maturity Date. The Unused Commitment Fee provided in Section 1.9(a) of the DIP
                       Credit Agreement shall accrue at all times from and after the date of the initial advance
                       under the Delayed Draw Term Loan Commitment. The non-use fee shall be computed
                       for the actual number of days elapsed on the basis of a year of 360 days.
                       Facility Fee. The Borrower shall pay to the DIP Agent , for the account of each DIP
                       Lender on a pro rata basis, (i) a single interim facility fee in an amount equal to 2.00% of
                       the aggregate amount of Interim Term Loans approved by the Bankruptcy Court in the
                       Interim Order and funded by the Lenders (excluding the total outstanding amount of the

                                                      14
             Case 19-10488-LSS             Doc 26       Filed 03/11/19         Page 15 of 36




 Bankruptcy Code                                    Summary of Material Terms
                       indebtedness under the Prepetition Credit Agreement, including amounts committed to
                       letter of credit obligations thereunder, that may constitute Obligations under the DIP
                       Credit Agreement) (the “Interim Facility Fee”) and (ii) a single final facility fee in an
                       amount equal to 2.00% of the aggregate amount of Delayed Draw Term Loan
                       Commitments approved by the Bankruptcy Court in the Final Order (the “Final Facility
                       Fee” and together with the Interim Facility Fee, collectively, the “Facility Fee”). The
                       Interim Facility Fee is fully earned on the Effective Date and shall be paid (and once paid
                       shall be non-refundable) on the Effective Date. The Final Facility Fee is fully earned on
                       the Final Order Effective Date and shall be paid (and once paid shall be non-refundable)
                       on the Final Order Effective Date.
                       Exit Fee. The Borrower shall pay to the DIP Agent a non-refundable exit fee (the “Exit
                       Fee”) for the account of each DIP Lender on a pro rata basis, in an amount equal to 2%
                       of the Term Loan Commitments of such DIP Lender (excluding the total outstanding
                       amount of the indebtedness under the Prepetition Credit Agreement, including amounts
                       committed to letter of credit obligations thereunder, that may constitute Obligations
                       under the DIP Credit Agreement). Such Exit Fee shall be payable on the date of
                       termination of the DIP Lender' Commitments and the repayment in full of the
                       Obligations.
                       See DIP Credit Agreement § 1.9.

Budget                 Initial DIP Budget. Prior to the Effective Date, the Borrower shall have furnished to
Bankruptcy Rule 4001   the DIP Agent and the DIP Lender a 13-week cash flow budget of anticipated and
(c)(1)(B)              forecasted revenues and expenses and, as in effect from time to time, in form and
                       substance reasonably satisfactory to the Required Lenders (such budget as delivered to
Local Rule 4001-
                       the DIP Agent and the DIP Lender on the Effective Date, the “Initial DIP Budget”)
2(a)(ii)
                       certified by an officer of the Borrower, certifying that the projections therein have been
                       prepared in good faith based on reasonable assumptions believed by management to be
                       reasonable in light of current conditions and facts known to the Borrower at the time
Variance Covenant      delivered (it being understood that such Initial DIP Budget and assumption on which
Bankruptcy Rule        they were based, may or may not prove to be correct), and that such projections contain
4001(c)(l)(B)          no statements or conclusions (and there are no omissions of information) which are
Local Rule 4001-       based upon or include information known to the Credit Parties to be misleading in any
2(a)(ii)               material respect. Commencing on the second Wednesday after the Petition Date, the
                       Borrower shall deliver a certificate to the DIP Agent signed by an officer of the
                       Borrower, on Wednesday of each week, certifying the cash disbursements, sales,
                       inventory, inventory receipts and cash receipts, on a line by line basis, for the week
                       ended (and on a cumulative basis since the Petition Date) the immediately prior
                       Saturday, together with a variance report, on an individual line item basis and an
                       aggregate basis, comparing such disbursements to the DIP Budget
                       Updates to Proposed DIP Budget. Following the Effective Date, on Wednesday of each
                       week, the Borrower may propose an updated budget (the "Proposed DIP Budget")
                       which shall reflect the Borrower's good faith projection of all weekly cash receipts and
                       disbursements in connection with the operation of the Credit Parties' and their
                       respective Subsidiaries' business during the next thirteen-week period, including but not
                       limited to, collections, payroll, Capital Expenditures, Professional fees and other cash
                       outlays, in each case, consistent in form and substance (other than dollar amounts) with
                       the Initial DIP Budget. Each DIP Budget, including the Initial DIP Budget shall be
                       accompanied by a certificate from the chief financial officer of the Borrower or
                       Holdings certifying that such projections were prepared in good faith on the basis of the
                       assumptions stated therein, which assumptions were believed by the preparer thereof to
                       be reasonable at the time prepared. The Required Lenders may approve such Proposed
                       DIP Budget, which will then become the "DIP Budget" then in effect in their sole and


                                                     15
             Case 19-10488-LSS            Doc 26       Filed 03/11/19          Page 16 of 36




 Bankruptcy Code                                    Summary of Material Terms
                      absolute discretion. If the DIP Lender do not approve such Proposed DIP Budget, then
                      the current DIP Budget will remain in effect.
                      Permitted Variances. The Borrower shall deliver a certificate to the DIP Agent signed
                      by an officer of the Borrower on the (i) Wednesday immediately prior to the scheduled
                      hearing date for the Final Order and (ii) Wednesday of each week, commencing on the
                      third Wednesday after the Petition Date, in each case, demonstrating that total
                      disbursements (excluding certain stub-rent payments) for the four-week period (or,
                      shorter period, if any, in the case of the certificate delivered under clause (i)) ending on
                      the Saturday immediately preceding the applicable Wednesday, are no greater than
                      115% of the projected amounts for total disbursements set forth in the DIP Budget for
                      such period.
                      See DIP Credit Agreement § 4.1(g), (h), (j) and (l).

Events of Default     Events of Default. Usual and customary for financings of this type, including non-
Bankruptcy Rule       payment of obligations, defaults under covenants, breaches of representations and
4001(c)(l)(B)         warranties, defaults related to the budget, cross-defaults to other indebtedness,
Local Rule 4001-      attachment defaults, judgment defaults, invalidity of loan documents, change of control,
2(a)(ii)              failure to comply with ERISA rules and regulations, invalidity of collateral documents,
                      change of control, invalidity of prpostpetition loan documents, the occurrence of any
                      number of adverse actions or consequences in any of the Chapter 11 Cases.
                      See DIP Credit Agreement § 7.1.

Costs and Expenses:   Costs and Expenses.
Indemnification
                      The Borrower agrees to pay or reimburse within thirty (30) days upon demand (a) DIP
Bankruptcy Rule
                      Agent and DIP Lender for all reasonable and documented out-of-pocket costs and
4001(c)(1)(B)(ix)
                      expenses (other than taxes) incurred by each of them or any of its Related Persons (but
                      only to the extent DIP Agent, DIP Lender or their Affiliates are required to reimburse
                      such Related Person), in connection with the preparation, negotiation, syndication,
                      execution, interpretation or administration of, any modification of any term of or
                      termination of, any Loan Document, any commitment or proposal letter therefor, any
                      other document prepared in connection therewith or the consummation and
                      administration of any transaction contemplated therein, in each case including Attorney
                      Costs of Agent and Lenders, the costs of Collateral audits and appraisals, background
                      checks and similar expenses, (b) the DIP Agent and the DIP Lender for all reasonable
                      and documented out-of-pocket costs and expenses (other than taxes) incurred by each
                      of them or any of their Related Persons in connection with internal audit reviews, field
                      examinations and Collateral examinations (which shall be reimbursed, in addition to the
                      reasonable and documented out-of-pocket costs and expenses of such examiners, at the
                      per diem rate per individual charged by Agent and Lenders, respectively, for their
                      examiners) and (c) each of the DIP Agent, DIP Lender and their Related Persons, for all
                      reasonable and documented out-of-pocket costs and expenses (other than taxes)
                      incurred in connection with (i) any refinancing or restructuring of the credit
                      arrangements provided under the DIP Credit Agreement in the nature of a "work-out",
                      (ii) the enforcement or preservation of any right or remedy under any Loan Document
                      or (iii) the commencement, defense, conduct of, intervention in, or the taking of any
                      other action with respect to, any proceeding (including any bankruptcy or insolvency
                      proceeding) related to any Credit Party or Related Transactions. Notwithstanding
                      anything to the contrary in any DIP Document, Borrower and Credit Parties' obligations
                      as to Attorney Costs shall be limited to the fees, disbursements and other charges of one
                      counsel to each Lender and its Related Persons and one additional counsel to the Agent
                      and its Related Persons, and, if reasonably necessary, of one local counsel in each
                      relevant jurisdiction and one regulatory counsel to all affected Indemnitees, taken as a

                                                     16
               Case 19-10488-LSS           Doc 26       Filed 03/11/19        Page 17 of 36




     Bankruptcy Code                                Summary of Material Terms
                       whole (and in the case of an actual or reasonably perceived conflict of interest, one
                       additional counsel (and one additional local counsel in each relevant material
                       jurisdiction and one additional regulatory counsel) to each affected Indemnitee).
                       See DIP Credit Agreement § 9.5.
                       Indemnification of Agent Indemnitees.
                       Subject to the limitations set forth in Section 9.6 of the DIP Credit Agreement, each
                       Credit Party agrees to indemnify, hold harmless and defend DIP Agent, each DIP
                       Lender and each of their respective Related Persons (each such Person being an
                       "Indemnitee") from and against all actual Liabilities (including brokerage commissions,
                       fees and other compensation, but not including Taxes which are addressed in Section
                       10.1 of the DIP Credit Agreement) that may be imposed on, incurred by or asserted
                       against any such Indemnitee in any matter relating to or arising out of, in connection
                       with or as a result of (i) any Loan Document, any Obligation (or the repayment
                       thereof), the use or intended use of the proceeds of any Loan or any securities filing of,
                       or with respect to, any Credit Party, (ii) any commitment letter, proposal letter or term
                       sheet with any Person or any Contractual Obligation, arrangement or understanding
                       with any broker, finder or consultant, in each case entered into by or on behalf of any
                       Credit Party or any Affiliate of any of them in connection with any of the foregoing and
                       any Contractual Obligation entered into in connection with any E-Systems or other
                       Electronic Transmissions, (iii) any actual or prospective investigation, litigation or
                       other proceeding, whether or not brought by any such Indemnitee or any of its Related
                       Persons, any holders of securities or creditors (and including Attorney Costs in any
                       case), whether or not any such Indemnitee, Related Person, holder or creditor is a party
                       thereto, and whether or not based on any securities or commercial law or regulation or
                       any other Requirement of Law or theory thereof, including common law, equity,
                       contract, tort or otherwise or (iv) any other act, event or transaction related,
                       contemplated in or attendant to any of the foregoing (collectively, the "Indemnified
                       Matters").
                       See DIP Credit Agreement § 9.6.


                                              Background

I.       The Debtors’ Prepetition Capital Structure.

         13.    As of the Petition Date, the Debtors’ capital structure consists of outstanding

funded-debt obligations in the aggregate principal amount of approximately $111.8 million. The

following table summarizes the Debtors’ outstanding funded-debt obligations as of the Petition

Date:




                                                     17
              Case 19-10488-LSS            Doc 26     Filed 03/11/19      Page 18 of 36



                                                                          Principal Amount Outstanding
    Funded Debt             Maturity                Interest Rates
                                                                              as of the Petition Date
   Senior Secured                                   Libor + 4.75%
                         October 8, 2020                                          $19,250,000
   Revolving Loans                            2% Revolving PIK Interest

Senior Secured Term                                 Libor + 6.50%
                         October 8, 2021                                         $92,571,502.14
       Loans                                    2% PIK Option Rate

                              TOTAL                                             $111,821,502.14


       A.      The Secured Credit Agreement.

       14.     The Debtors are parties to that certain Credit Agreement, dated as of October 8,

2014 (as amended, amended and restated, refinanced, supplemented, modified, restated, waived

or otherwise modified from time to time, the “Prepetition Credit Agreement”) by and among Z

Gallerie, as borrower, Holdings, as a parent guarantor (together with Z Gallerie as the borrower,

collectively, the “Prepetition Credit Parties”), the lenders party thereto from time to time (the

“Prepetition Secured Lenders”), and KeyBank, as administrative agent and collateral agent for

itself and the Prepetition Secured Lenders (in such capacities, together with its successors and

assigns, the “Prepetition Agent”).         The Prepetition Credit Agreement provides for (1) a

$93,400,000 senior secured term loan facility, Prepetition Secured Term Loans, with a maturity

date of October 8, 2021 and (2) a $20,000,000 senior secured revolving loan facility, the

Prepetition Secured Revolving Loans, with a maturity date of October 8, 2020.

       15.     Obligations under the Prepetition Credit Agreement are secured by substantially

all assets of the Prepetition Credit Parties (subject to certain exceptions), including, without

limitation, a first priority lien on the Prepetition Credit Parties’ accounts (including receivables),

inventory, deposit and securities accounts (subject to certain exceptions), cash, and cash

equivalents, owned real property with a fair market value equal to or greater than $3,000,000,




                                                    18
                 Case 19-10488-LSS            Doc 26      Filed 03/11/19       Page 19 of 36



intellectual property and all equity interests of the Debtors and their subsidiaries (collectively,

the “Collateral”).

          16.      Additionally, the Prepetition Credit Parties have entered into deposit account

control agreements in favor of the Agent with respect to their bank accounts. Thus, substantially

all of the Prepetition Credit Parties’ cash is subject to a perfected security interest in favor of the

Agent. As of the Petition Date, the term loan facility is fully drawn and there is approximately

$750,0005 of availability under the revolving facility.

II.       Alternative Sources of Financing Are Not Readily Available.

          17.      The Debtors do not have alternative sources of financing readily available. The

Debtors’ Prepetition Secured Lenders assert that substantially all of the Debtors’ assets are

encumbered under their existing capital structure, which, along with the Debtors’ capital

structure, restricts the availability of, and options for, postpetition financing.                  See Cohen

Declaration ¶ 14. The Prepetition Secured Lenders also made it clear that they would not

consent to “priming” debtor-in-possession financing provided by a third party. See Cohen

Declaration ¶ 22. Additionally, as described below, the Debtors’ marketing process—which

included outreach to eight parties for a variety of financing solutions—yielded no actionable

results. Accordingly, the Debtors do not believe third-party debtor-in-possession financing

would be reasonably obtainable.

          18.      While negotiating the DIP Facility with the Debtors’ existing debtholders, the

Debtors, with the assistance of Lazard Middle Market LLC (“Lazard”), began soliciting

indications of interest from eight alternative third-party sources of asset based financing

(including specialty lenders, distressed-oriented investors with experience in retail, and those that

5
    As of the Petition Date the Prepetition Secured Revolving Loans and Prepetition Secured Term Loans are fully
      drawn.


                                                       19
               Case 19-10488-LSS          Doc 26      Filed 03/11/19   Page 20 of 36



routinely provide debtor-in-possession financing), to gauge their interest in providing

postpetition financing to the Debtors. See Cohen Declaration ¶ 12. No party provided a proposal

for alternative financing, with several parties explaining that their financing proposal would

require priming of the Prepetition Secured Lenders—likely resulting in expensive and distracting

litigation at the critical start of these chapter 11 cases. See id.

         19.    Additionally, with any third-party proposal, the Debtors would incur the

execution risk associated with a new lender transaction, including material timing and due

diligence constraints, necessarily involving the payment of additional professional fees. In

contrast, the proposed DIP Facility offered by the DIP Lender allow the Debtors to avoid the

need to engage in a costly and time-consuming priming fight at the outset of these chapter 11

cases.

                                            Basis for Relief

I.       The Debtors Should Be Authorized to Obtain Postpetition Financing Through the
         DIP Documents.

         A.     Entry into the DIP Documents Is an Exercise of the Debtors’ Sound Business
                Judgment.

         20.    The Court should authorize the Debtors, as an exercise of their sound business

judgment, to enter into the DIP Documents, obtain access to the DIP Facility, and continue using

the Cash Collateral. Section 364 of the Bankruptcy Code authorizes a debtor to obtain secured

or superpriority financing under certain circumstances discussed in detail below. Courts grant a

debtor-in-possession considerable deference in acting in accordance with its business judgment

in obtaining postpetition secured credit, so long as the agreement to obtain such credit does not

run afoul of the provisions of, and policies underlying, the Bankruptcy Code. See, e.g., In re

Trans World Airlines, Inc., 163 B.R. 964, 974 (Bankr. D. Del. 1994) (approving a postpetition

loan and receivables facility because such facility “reflect[ed] sound and prudent business

                                                   20
               Case 19-10488-LSS           Doc 26    Filed 03/11/19   Page 21 of 36



judgment”); In re L.A. Dodgers LLC, 457 B.R. 308, 313 (Bankr. D. Del. 2011) (“[C]ourts will

almost always defer to the business judgment of a debtor in the selection of the lender.”); In re

Ames Dep’t Stores, Inc., 115 B.R. 34, 40 (Bankr. S.D.N.Y. 1990) (“[C]ases consistently reflect

that the court’s discretion under section 364 is to be utilized on grounds that permit reasonable

business judgment to be exercised so long as the financing agreement does not contain terms that

leverage the bankruptcy process and powers or its purpose is not so much to benefit the estate as

it is to benefit a party-in-interest.”).

        21.     Specifically, to determine whether the business judgment standard is met, a court

need only “examine whether a reasonable business person would make a similar decision under

similar circumstances.” In re Exide Techs., 340 B.R. 222, 239 (Bankr. D. Del. 2006); see also

In re Curlew Valley Assocs., 14 B.R. 506, 513–14 (Bankr. D. Utah 1981) (noting that courts

should not second guess a debtor’s business decision when that decision involves “a business

judgment made in good faith, upon a reasonable basis, and within the scope of [the debtor’s]

authority under the [Bankruptcy] Code”).

        22.     Furthermore, in considering whether the terms of postpetition financing are fair

and reasonable, courts consider the terms in light of the relative circumstances of both the debtor

and the potential lender. In re Farmland Indus., Inc., 294 B.R. 855, 886 (Bankr. W.D. Mo.

2003); see also Unsecured Creditors’ Comm. Mobil Oil Corp. v. First Nat’l Bank & Trust Co.

(In re Elingsen McLean Oil Co., Inc.), 65 B.R. 358, 365 n.7 (W.D. Mich. 1986) (recognizing a

debtor may have to enter into “hard bargains” to acquire funds for its reorganization). The Court

may also appropriately take into consideration non-economic benefits to the Debtors offered by a

proposed postpetition facility. For example, in In re ION Media Networks. Inc., the bankruptcy

court for the Southern District of New York held that:


                                                    21
             Case 19-10488-LSS        Doc 26     Filed 03/11/19    Page 22 of 36



              Although all parties, including the Debtors and the Committee, are
              naturally motivated to obtain financing on the best possible terms,
              a business decision to obtain credit from a particular lender is
              almost never based purely on economic terms. Relevant features
              of the financing must be evaluated, including non-economic
              elements such as the timing and certainty of closing, the impact on
              creditor constituencies and the likelihood of a successful
              reorganization. This is particularly true in a bankruptcy setting
              where cooperation and establishing alliances with creditor groups
              can be a vital part of building support for a restructuring that
              ultimately may lead to a confirmable reorganization plan. That
              which helps foster consensus may be preferable to a notionally
              better transaction that carries the risk of promoting unwanted
              conflict.

No. 09-13125, 2009 WL 2902568, at *4 (Bankr. S.D.N.Y. July 6, 2009) (emphasis added).

       23.    The Debtors’ determination to move forward with the DIP Facility is an exercise

of their sound business judgment following an arm’s-length process and careful evaluation of the

only two alternatives. Specifically, the Debtors and their advisors determined that postpetition

financing will create certainty with respect to cash flows necessary for the administration of

these chapter 11 cases through confirmation. The Debtors negotiated the DIP Agreement and

other DIP Documents with the DIP Lender in good faith, at arm’s length, and with the assistance

of their respective advisors. The Debtors conducted intensive negotiations with their Prepetition

Secured Lenders that resulted in two DIP financing proposals from their Prepetition Revolving

Lender and the Prepetition Term Loan Lender. Given the Debtors’ capital structure and current

circumstances, the Debtors believe that they have obtained the best financing available.

Accordingly, the Court should authorize the Debtors’ entry into the DIP Documents, as it is a

reasonable exercise of the Debtors’ business judgment.

       B.     The Debtors Should Be Authorized to Grant Liens and Superpriority
              Claims.

       24.    The Debtors propose to obtain financing under the DIP Facility by providing

security interests and liens as set forth in the DIP Documents pursuant to section 364(c) of the

                                               22
              Case 19-10488-LSS         Doc 26     Filed 03/11/19      Page 23 of 36



Bankruptcy Code. Specifically, the Debtors propose to provide to the DIP Lender postpetition

security interests in and liens on the Postpetition Collateral (as defined in the Interim Order) that

are valid, perfected, allowed, enforceable, non-avoidable and not subject to challenge, dispute or

subordination immediately upon entry of the Interim Order:

               a.      The DIP Liens securing the DIP Obligations will be senior priming liens
                       on the Prepetition Collateral, senior in priority to all Prepetition Liens
                       thereon and any Adequate Protection Liens thereon, except that the DIP
                       Liens will be junior to:

                       i.      the Carve Out;

                       ii.     Permitted Liens that are valid, binding, perfected and unavoidable
                               as of the Petition Date (other than the Prepetition Liens) and which
                               are entitled to priority over the Prepetition Liens;

                       iii.    valid, perfected and non-avoidable liens in existence as of the
                               Petition Date or which are entitled to priority over the Prepetition
                               Liens; and

                       iv.     valid liens in existence as of the Petition Date that are perfected
                               thereafter to the extent permitted by Bankruptcy Code section
                               546(b), which are entitled to priority over the Prepetition Liens.

       25.     The statutory requirement for obtaining postpetition credit under section 364(c) is

a finding, made after notice and hearing, that a debtor is “unable to obtain unsecured credit

allowable under Section 503(b)(1) of [the Bankruptcy Code].” 11 U.S.C. § 364(c). See In re

Crouse Grp., Inc., 71 B.R. 544, 549 (Bankr. E.D. Pa. 1987) (secured credit under section 364(c)

of the Bankruptcy Code is authorized, after notice and hearing, upon showing that unsecured

credit cannot be obtained). Courts have articulated a three-part test to determine whether a

debtor is entitled to financing under section 364(c) of the Bankruptcy Code. Specifically, courts

look to whether:

               b.      the debtor is unable to obtain unsecured credit under section 364(b) of the
                       Bankruptcy Code, i.e., by allowing a lender only an administrative claim;

               c.      the credit transaction is necessary to preserve the assets of the estate; and

                                                 23
             Case 19-10488-LSS         Doc 26     Filed 03/11/19     Page 24 of 36



               d.     the terms of the transaction are fair, reasonable, and adequate, given the
                      circumstances of the debtor-borrower and proposed lenders.

See In re Los Angeles Dodgers LLC, 457 B.R. 308 (Bankr. D. Del. 2011); In re Ames Dep’t

Stores, 115 B.R. 34, 37–40 (Bankr. S.D.N.Y. 1990); see also In re St. Mary Hosp., 86 B.R. 393,

401-02 (Bankr. E.D. Pa. 1988); Crouse Grp., 71 B.R. at 549.

       26.     As described above and as set forth in the Cohen Declaration, third-party lenders

were unwilling to provide postpetition financing on an unsecured basis or otherwise junior to the

Prepetition Secured Lenders.      See Cohen Declaration ¶ 12.        Therefore, the Debtors, in

consultation with their advisors, concluded that any workable financing in connection with a

chapter 11 filing would likely require the support of, or be provided by, the Debtors’ existing

lenders. See Cohen Declaration ¶ 14. Absent the DIP Facility, which will provide certainty that

the Debtors will have sufficient liquidity to administer these chapter 11 cases and to continue

operating in the ordinary course, the value of the Debtors’ estates would be significantly

impaired to the detriment of all stakeholders. Given the Debtors’ circumstances, the Debtors

believe that the terms of the DIP Facility, as set forth in the DIP Agreements, are fair,

reasonable, and adequate, all as more fully set forth below. For all these reasons, the Debtors

submit that they have met the standard for obtaining postpetition financing.

       27.     In the event that a debtor is unable to obtain unsecured credit allowable as an

administrative expense under section 503(b)(1) of the Bankruptcy Code, section 364(c) provides

that a court “may authorize the obtaining of credit or the incurring of debt (1) with priority over

any or all administrative expenses of the kind specified in section 503(b) or 507(b) of [the

Bankruptcy Code]; (2) secured by a lien on property of the estate that is not otherwise subject to

a lien; or (3) secured by a junior lien on property of the estate that is subject to a lien.” As




                                                24
              Case 19-10488-LSS         Doc 26     Filed 03/11/19     Page 25 of 36



described above, the Debtors are unable to obtain unsecured credit.           Therefore, approving

superpriority claims in favor of the DIP Lender is reasonable and appropriate.

        28.    Further, section 364(d) provides that a debtor may obtain credit secured by a

senior or equal lien on property of the estate already subject to a lien, after notice and a hearing,

where the debtor is “unable to obtain such credit otherwise” and “there is adequate protection of

the interest of the holder of the lien on the property of the estate on which such senior or equal

lien is proposed to be granted.” 11 U.S.C. § 364(d)(1). The Debtors may incur “priming” liens

under the DIP Facility if either (a) the Prepetition Lenders have consented or (b) Prepetition

Lenders’ interests in collateral are adequately protected. See, e.g., Anchor Savs. Bank FSB v.

Sky Valley, Inc., 99 B.R. 117, 122 (N.D. Ga. 1989) (“[B]y tacitly consenting to the superpriority

lien, those [undersecured] creditors relieved the debtor of having to demonstrate that they were

adequately protected.”).

        29.    Here the Prepetition Secured Lenders have consented to the DIP Facilities. The

Debtors submit that its provision of adequate protection as described herein is fair and

reasonable, is sufficient to satisfy the requirements of section 364(d)(1)(B) of the Bankruptcy

Code.

        C.     No Comparable Alternative to the DIP Facility Is Reasonably Available.

        30.    A debtor need only demonstrate “by a good faith effort that credit was not

available without” the protections afforded to potential lenders by sections 364(c) of the

Bankruptcy Code. In re Snowshoe Co., Inc., 789 F.2d 1085, 1088 (4th Cir. 1986); see also

In re Plabell Rubber Prods., Inc., 137 B.R. 897, 900 (Bankr. N.D. Ohio 1992). Moreover, in

circumstances where only a few lenders likely can or will extend the necessary credit to a debtor,

“it would be unrealistic and unnecessary to require [the debtor] to conduct such an exhaustive

search for financing.” In re Sky Valley, Inc., 100 B.R. 107, 113 (Bankr. N.D. Ga. 1988), aff’d
                                                 25
              Case 19-10488-LSS         Doc 26       Filed 03/11/19   Page 26 of 36



sub nom. Anchor Sav. Bank FSB v. Sky Valley, Inc., 99 B.R. 117, 120 n.4 (N.D. Ga. 1989); see

also In re Snowshoe Co., 789 F.2d 1085, 1088 (4th Cir. 1986) (demonstrating that credit was

unavailable absent the senior lien by establishment of unsuccessful contact with other financial

institutions in the geographic area); In re Stanley Hotel, Inc., 15 B.R. 660, 663 (D. Colo. 1981)

(bankruptcy court’s finding that two national banks refused to grant unsecured loans was

sufficient to support conclusion that section 364 requirement was met); In re Ames Dep’t Stores,

115 B.R. at 37–39 (debtor must show that it made reasonable efforts to seek other sources of

financing under section 364(a) and (b)).

       31.     As noted above, the Debtors do not believe that alternative sources of financing

are reasonably available given the realities imposed by the Debtors’ existing capital structure and

the Debtors’ unsuccessful solicitation of alternative financing proposals. Substantially all of the

Debtors’ existing assets are encumbered. See Cohen Declaration ¶ 21. Moreover, the Debtors

have done a thorough search for actionable alternative proposals—in this regard, the market has

spoken. There are no other options. Thus, the Debtors have determined that the DIP Facility

provides the best opportunity available to the Debtors under the circumstances to fund these

chapter 11 cases. See Weinsten Declaration ¶ 10. Therefore, in addition to evidence to be

introduced at the hearing on the Interim Order if necessary, the Debtors submit that the

requirement of section 364 of the Bankruptcy Code that alternative credit on more favorable

terms be unavailable to the Debtors is satisfied.

       D.      The Proposed Repayment of Prepetition Indebtedness Should Be Approved.

       32.     Section 363(b) of the Bankruptcy Code permits a debtor to use, sell or lease

property, other than in the ordinary course of business, with court approval. It is well settled in

the Third Circuit that such transactions should be approved when they are supported by a sound

business purpose. See In re Abbots Dairies, Inc., 788 F.2d 143 (3d Cir. 1986) (holding that in
                                                    26
               Case 19-10488-LSS             Doc 26       Filed 03/11/19        Page 27 of 36



the Third Circuit, a debtor’s use of assets outside the ordinary course of business under section

363(b) should be approved if the debtor can demonstrate a sound business justification for the

proposed transaction). The business judgment rule shields a debtor’s management from judicial

second-guessing. In re Johns-Manville Corp., 60 B.R. 612, 615-16 (Bankr. S.D.N.Y. 1986)

(“[T]he [Bankruptcy] Code favors the continued operation of a business by a debtor and a

presumption of reasonableness attaches to a debtor’s management decisions.”).

        33.      Repayment of prepetition debt (often referred to as a “roll-up”) is a common

feature in debtor-in-possession financing arrangements.                  Courts in this jurisdiction have

approved similar DIP features on the first day of the case. See, e.g., In re MACH Gen, LLC, No.

14-10461 (MFW) (Bankr. D. Del. Mar. 5, 2014) (authorizing approximately $200 million DIP

that included roll-up of approximately $144 million prepetition debt pursuant to interim order);

In re Furniture Brands Int’l, Inc., No. 13-12329 (CSS) (Bankr. D. Del. Sept. 11, 2013)

(authorizing approximately $140 million DIP that included roll-up of approximately $91 million

prepetition debt pursuant to interim order); In re Appleseed’s Intermediate Holdings LLC, No.

11-10160 (KG) (Bankr. D. Del. Jan. 20, 2011) (authorizing approximately $140 million DIP that

included roll-up of approximately $48.6 million prepetition debt pursuant to interim order); In re

Dayton Superior Corp., No. 09-11351 (BLS) (Bankr. D. Del. Apr. 21, 2009) (authorizing

approximately $165 million DIP that included roll-up of approximately $110 million prepetition

debt pursuant to interim order).6

        34.      Moreover, repayment of prepetition debt has been approved in several recent

retail cases in this and other jurisdictions. See In re American Apparel, Inc., No. 15-12055

(Bankr. D. Del. October 6, 2017) (approving on an interim basis the repayment in full of all

6   Because of the voluminous nature of the orders cited herein, such orders have not been attached to this motion.
    Copies of these orders are available upon request of the Debtors’ proposed counsel.


                                                       27
             Case 19-10488-LSS        Doc 26     Filed 03/11/19    Page 28 of 36



outstanding amounts under the prepetition revolving credit agreement); In re The Gymboree

Corp., No. 17-32968 (Bankr. E.D. Va. June 12, 2017) (approving on an interim basis the

conversion and “roll-up” of all outstanding prepetition revolving obligations and $70 million of

prepetition term loan obligations); In re rue21, inc., No. 17-22045 (Bankr. W.D. Pa. May 18,

2017) (approving on an interim basis the conversion and “roll-up” of all outstanding prepetition

revolving obligations and $100 million of prepetition term loans); In re BCBG Max Azria

Holdings, LLC, No. 17-10466 (Bankr. S.D.N.Y. March 28, 2017) (approving on a final basis the

conversion and “roll-up” of $35 million of prepetition term loan obligations); In re BCBG Max

Azria Holdings, LLC, No. 17-10466 (Bankr. S.D.N.Y. March 2, 2017) (approving the conversion

and “roll-up” of all outstanding prepetition revolving obligations on a rolling basis following

entry of the interim order); In re Aéropostale, Inc., No. 16-11275 (Bankr. S.D.N.Y. May 6, 2016)

(approving on an interim basis the conversion and “roll-up” of all outstanding prepetition

revolving obligations).

       35.     As set forth above, the DIP Credit Agreement provides that the full amount

outstanding under the Prepetition Revolving Loan will “roll up” into the DIP Facility upon entry

of the Interim Order. The amount to be rolled-up, approximately $19.25 million, represents

roughly 17% of the Debtors’ total outstanding prepetition secured debt.

       36.     The repayment of the Prepetition Revolving Loan is a sound exercise of the

Debtors’ business judgment and is a material component of the structure of the DIP Facility and

was required by the DIP Lender as a condition to their commitment to provide postpetition

financing. See Cohen Declaration ¶ 15. The Debtors were unable to obtain debtor-in-possession

financing on similar terms that did not provide for the repayment of prepetition amounts on these

terms. See Cohen Declaration ¶ 21. Without continued access to a lending facility to fund the


                                               28
             Case 19-10488-LSS          Doc 26     Filed 03/11/19     Page 29 of 36



Debtors’ operations and the $5.25 million in incremental liquidity under the DIP Facility to fund

the administration of these chapter 11 cases, the Debtors’ businesses would cease and they would

likely be forced to liquidate. See Weinsten Declaration ¶ 5. Maintaining the ability to continue

as a going concern on the other side of a deleveraging restructuring transaction is of immense

benefit to the Debtors’ estates and stakeholders. Moreover, the DIP Financing offered by the

Prepetition Secured Revolver Lenders is a superior DIP facility because it eliminates the cost of

litigation on the first day regarding and allows for a constructive beginning to these chapter 11

cases. Given the Debtors’ liquidity concerns and the 120-day timeline in the case, that reducing

litigation and entering the chapter 11 cases with collaboration between and among the

Prepetition Secured Lenders is in the best interest of the estates. See Weinsten Declaration ¶ 9.

       37.     The simple economic reality is that a peaceful, going concern transition in to

chapter 11 comes at a price, which in this case the Debtors believe to be reasonable. KeyBank is

unlikely to continue to lend postpetition without some assurance regarding their prepetition

claims. Absent KeyBank’s support, the first month of the Debtors’ chapter 11 cases would very

likely devolve into a costly priming fight. In contrast, the roll up of the Prepetition Revolving

Loans Indebtedness merely affects the timing, not the amount or certainty, of the Prepetition

Term Loan Lenders recovery—the secured claims arising under the Prepetition Credit Facility

are required by section 1129 of the Bankruptcy Code to be satisfied in full before recoveries to

junior creditors may be provided, absent consent of such secured parties (which consent the

Debtors do not have here).

       38.     Given these circumstances, repayment of the Prepetition Revolving Loans

Indebtedness upon entry of the Interim Order is reasonable, appropriate, and a sound exercise of

the Debtors’ business judgment.


                                                 29
              Case 19-10488-LSS         Doc 26     Filed 03/11/19     Page 30 of 36



II.    The Debtors Should Be Authorized to Use the Cash Collateral.

       39.     Section 363 of the Bankruptcy Code generally governs the use of estate property.

Section 363(c)(2)(A) permits a debtor in possession to use cash collateral with the consent of the

secured party. Here, the Prepetition Secured Lenders consent to the Debtors’ use of the Cash

Collateral (as well as the Prepetition Collateral), subject to the terms and limitations set forth in

the Interim Order.

       40.     Section 363(e) provides for adequate protection of interests in property when a

debtor uses cash collateral. Further, section 362(d)(1) of the Bankruptcy Code provides for

adequate protection of interests in property due to the imposition of the automatic stay. See In re

Cont’l Airlines, 91 F.3d 553, 556 (3d Cir. 1996) (en banc). While section 361 of the Bankruptcy

Code provides examples of forms of adequate protection, such as granting replacement liens and

administrative claims, courts decide what constitutes sufficient adequate protection on a

case-by-case basis. In re Swedeland Dev. Grp., Inc., 16 F.3d 552, 564 (3d Cir. 1994); In re

Satcon Tech. Corp., No. 12-12869 (KG), 2012 WL 6091160, at *6 (Bankr. D. Del. Dec. 7,

2012); In re N.J. Affordable Homes Corp., No. 05-60442 (DHS), 2006 WL 2128624, at *14

(Bankr. D.N.J. June 29, 2006); In re Columbia Gas Sys., Inc., Nos. 91-803, 91-804, 1992 WL

79323, at *2 (Bankr. D. Del. Feb. 18, 1992); see also In re Dynaco Corp., 162 B.R. 389, 394

(Bankr. D.N.H. 1993) (citing 2 Collier on Bankruptcy ¶ 361.01[1] at 361–66 (15th ed. 1993)

(explaining that adequate protection can take many forms and “must be determined based upon

equitable considerations arising from the particular facts of each proceeding”).

       41.     As described more fully above, and as set forth in the Interim Order, the Debtors

propose to provide the Prepetition Secured Lenders with a variety of adequate protection to

protect against the postpetition diminution in value of the Cash Collateral (as well as the



                                                 30
              Case 19-10488-LSS           Doc 26      Filed 03/11/19   Page 31 of 36



Prepetition Collateral) resulting from the use of the Cash Collateral by the Debtors and the

imposition of the automatic stay (collectively, the “Adequate Protection Obligations”):

                a.      valid and perfected replacement security interests in and liens on the
                        Postpetition Collateral;

                b.      superpriority administrative claims under section 507(b) of the Bankruptcy
                        Code; and

                c.      the Prepetition Term Loan Lenders’ reasonable professional fees and
                        expenses.

        42.     Therefore, the Debtors submit that the proposed Adequate Protection Obligations

are sufficient to protect the Prepetition Secured Lenders from any diminution in value to the

Cash Collateral and Prepetition Collateral. In light of the foregoing, the Debtors further submit

that the proposed Adequate Protection Obligations to be provided for the benefit of the

Prepetition Secured Lenders are appropriate. Thus, the Debtors’ provision of the Adequate

Protection Obligations is not only necessary to protect against any diminution in value but is fair

and appropriate under the circumstances of these chapter 11 cases to ensure the Debtors are able

to continue using the Cash Collateral, subject to the terms and limitations set forth in the Interim

Order, for the benefit of all parties in interest and their estates.

III.    The Debtors Should Be Authorized to Pay the Fees Required by the DIP Agent and
        the DIP Lender Under the DIP Documents.

        43.     Under the DIP Loan Documents, the Debtors have agreed, subject to Court

approval, to pay certain fees to the DIP Agents and the DIP Lender. In particular, the Debtors

have agreed to pay certain fees to the DIP Agent and DIP Lender (in accordance with the terms

of the DIP Documents) consisting of the following:

                a.      an Unused Commitment Fee equal to the Delayed Draw Term Loan
                        Commitment during the preceding calendar month minus the Delayed
                        Draw Term Loans held by such DIP Lender during the precedent calendar
                        month multiplied by 2.00% per annum;


                                                   31
             Case 19-10488-LSS          Doc 26      Filed 03/11/19     Page 32 of 36



               b.     a single interim Facility Fee and final Facility Fee, both equal to 2.00% of
                      the Delayed Draw Term Loan Commitments approved by the Bankruptcy
                      Court in the respective Interim Order and Final Order; and

               c.     a non-refundable Exit Fee in an amount equal to 2.00% of the Term Loan
                      Commitments of the DIP Lender.

       44.     Under the circumstances of these cases, these fees and costs are reasonable,

customary, and appropriate under the circumstances. Accordingly, the Court should authorize the

Debtors to pay the fees provided under the DIP Documents in connection with entering into

those agreements See Cohen Declaration ¶ 19.

IV.    The Debtors Should Be Deemed Good-Faith Lenders Under Section 364(e).

       45.     Section 364(e) of the Bankruptcy Code protects a good-faith lender’s right to

collect on loans extended to a debtor, and its right in any lien securing those loans, even if the

authority of the debtor to obtain such loans or grant such liens is later reversed or modified on

appeal. Section 364(e) of the Bankruptcy Code provides that:

               The reversal or modification on appeal of an authorization under
               this section [364 of the Bankruptcy Code] to obtain credit or incur
               debt, or of a grant under this section of a priority or a lien, does not
               affect the validity of any debt so incurred, or any priority or lien so
               granted, to an entity that extended such credit in good faith,
               whether or not such entity knew of the pendency of the appeal,
               unless such authorization and the incurring of such debt, or the
               granting of such priority or lien, were stayed pending appeal.

       46.     As explained herein, in the Weinsten Declaration and the Cohen Declaration, the

DIP Documents are the result of: (a) the Debtors’ reasonable and informed determination that

the DIP Lender offered the most favorable terms on which to obtain vital postpetition financing,

and (b) arms’-length, good-faith negotiations between the Debtors and the DIP Lender. The

Debtors submit that the terms and conditions of the DIP Documents are reasonable and

appropriate under the circumstances, and the proceeds of the DIP Facility will be used only for

purposes that are permissible under the Bankruptcy Code. Further, no consideration is being

                                                 32
             Case 19-10488-LSS         Doc 26     Filed 03/11/19     Page 33 of 36



provided to any party to the DIP Documents other than as described herein. Accordingly, the

Court should find that the DIP Lender are “good faith” lenders within the meaning of section

364(e) of the Bankruptcy Code and are entitled to all of the protections afforded by that section.

V.     The Automatic Stay Should Be Modified on a Limited Basis.

       47.     The proposed Interim Order provides that the automatic stay provisions of section

362 of the Bankruptcy Code will be modified to allow the DIP Lender to file any financing

statements, security agreements, notices of liens, and other similar instruments and documents in

order to validate and perfect the liens and security interests granted to them under the Interim

Order. The proposed Interim Order further provides that the automatic stay is modified as

necessary to permit the Debtors to grant the DIP Liens to the DIP Lender and to incur all

liabilities and obligations set forth in the Interim Order. Finally, the proposed Interim Order

provides that, following the occurrence of an Event of Default, the automatic stay shall be

vacated and modified to the extent necessary to permit the DIP Agents to exercise all rights and

remedies in accordance with the DIP Documents, or applicable law.

       48.     Stay modifications of this kind are ordinary and standard features of debtor-in-

possession financing arrangements, and, in the Debtors’ business judgment, are reasonable and

fair under the circumstances of these chapter 11 cases. See, e.g., In re Magnum Hunter Res.

Corp., No. 15-12533 (KG) (Bankr. D. Del. Dec. 15, 2015) (terminating automatic stay after

event of default); In re Peak Broad., LLC, No. 12-10183 (PJW) (Bankr. D. Del. Feb. 2, 2012)

(terminating automatic stay after occurrence of termination event); In re TMP Directional Mktg.,

LLC, No. 11-13835 (MFW) (Bankr. D. Del. Jan. 17, 2012) (modifying automatic stay as

necessary to effectuate the terms of the order); In re Broadway 401 LLC, No. 10-10070 (KJC)

(Bankr. D. Del. Feb. 16, 2010) (same); In re Haights Cross Commc’ns, Inc., No. 10-10062

(BLS) (Bankr. D. Del. Feb. 8, 2010) (same).
                                                33
              Case 19-10488-LSS          Doc 26     Filed 03/11/19     Page 34 of 36



VI.    Failure to Obtain Immediate Interim Access to the DIP Facility and Cash Collateral
       Would Cause Immediate and Irreparable Harm.

       49.     Bankruptcy Rules 4001(b) and 4001(c) provide that a final hearing on a motion to

obtain credit pursuant to section 364 of the Bankruptcy Code or to use cash collateral pursuant to

section 363 of the Bankruptcy Code may not be commenced earlier than 14 days after the service

of such motion. Upon request, however, the Court may conduct a preliminary, expedited hearing

on the motion and authorize the obtaining of credit and use of cash collateral to the extent

necessary to avoid immediate and irreparable harm to a debtor’s estate.

       50.     For the reasons noted above, the Debtors have an immediate postpetition need to

use Cash Collateral, including advances under the DIP Facility. The Debtors cannot maintain the

value of their estates during the pendency of these chapter 11 cases without access to this

liquidity. The Debtors will use cash to, among other things, fund the administration of these

chapter 11 cases and the operation of their business. The Debtors believe that substantially all of

their available cash constitutes the Prepetition Secured Lenders’ Cash Collateral. The Debtors

will therefore be unable to operate their business or otherwise fund these chapter 11 cases

without access to the Cash Collateral, and will suffer immediate and irreparable harm to the

detriment of all creditors and other parties in interest. In short, the Debtors’ ability to administer

these chapter 11 cases through the use of Cash Collateral is vital to preserve and maximize the

value of the Debtors’ estates.

       51.     The Debtors request that the Court hold and conduct a hearing to consider entry of

the Interim Order authorizing the Debtors, from and after entry of the Interim Order until the

Final Hearing, to receive initial funding under the DIP Facility. This relief will enable the

Debtors to preserve and maximize value and, therefore, avoid immediate and irreparable harm

and prejudice to their estates and all parties in interest, pending the Final Hearing.

                                                  34
               Case 19-10488-LSS         Doc 26     Filed 03/11/19      Page 35 of 36



                                     Request for Final Hearing

        52.     Pursuant to Bankruptcy Rules 4001(b)(2) and 4001(c)(2), the Debtors request that

the Court set a date for the Final Hearing that is as soon as practicable, and in no event after

April 12, 2019 days after the Petition Date, and fix the time and date prior to the Final Hearing

for parties to file objections to this motion.

                        Waiver of Bankruptcy Rule 6004(a) and 6004(h)

        53.     To implement the foregoing successfully, the Debtors request that the Court enter

an order providing that notice of the relief requested herein satisfies Bankruptcy Rule 6004(a)

and that the Debtors have established cause to exclude such relief from the 14-day stay period

under Bankruptcy Rule 6004(h).

                                                 Notice

        54.     The Debtors will provide notice of this motion to: (a) the Office of the U.S.

Trustee for the District of Delaware; (b) the holders of the 50 largest unsecured claims against

the Debtors (on a consolidated basis); (c) the Agent for the Debtors’ prepetition secured credit

facility; (d) counsel to the Agent for the Debtors’ prepetition secured credit facility; (e) counsel

to the DIP Financing Agent; (f) the United States Attorney’s Office for the District of Delaware;

(g) the Internal Revenue Service; (h) the United States Securities and Exchange Commission;

(i) the state attorneys general for all states in which the Debtors conduct business; (j) the

Prepetition Secured Parties to the Debtors’ prepetition secured credit facility and their counsel;

and (k) any party that requests service pursuant to Bankruptcy Rule 2002. The Debtors submit

that, in light of the nature of the relief requested, no other or further notice need be given.

                                          No Prior Request

        55.     No prior request for the relief sought in this motion has been made to this or any

other court.

                                                  35
             Case 19-10488-LSS        Doc 26    Filed 03/11/19     Page 36 of 36



       WHEREFORE, the Debtors respectfully request that the Court enter the DIP Orders,

granting relief requested herein and such other relief as the Court deems appropriate under the

circumstances.

Dated: March 11, 2019               /s/ Domenic E. Pacitti
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